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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS



ALLEN GARLAND,                                      CIVIL NO. 3:20-cv-00269-JPG
    Plaintiff,
                                                    CJRA TRACK: C
        vs
                                                    JURY TRIAL: December 13, 2021
NOVARTIS PHARMACEUTICALS
CORPORATION,                                        JUDGE: J. Phil Gilbert
   Defendant.


                         JOINT REPORT OF PARTIES
              AND PROPOSED SCHEDULING AND DISCOVERY ORDER

       Pursuant to Federal Rule of Civil Procedure 26(f) and SDIL-LR 16.2(a), an initial
conference of the parties was held on May 28, 2020 with attorneys for plaintiff Allen Garland and
defendant Novartis Pharmaceuticals Corporation participating.

       Pursuant to Local Rule 16.1(a), this product liability case is appropriately designated a
Track C case. See NPC’s Notice Regarding Track Designation (ECF No. 19). The dates proposed
below are based a Track C designation.

SCHEDULING AND DISCOVERY PLANS WERE DISCUSSED AND AGREED TO
AS FOLLOWS:

       1.     Initial interrogatories and requests to produce, pursuant to Federal Rules of Civil
              Procedure 33 and 34 shall be served on opposing parties by August 3, 2020.

       2.     Plaintiff’s deposition shall be taken by October 3, 2020.

       3.     Defendant’s deposition shall be taken by December 3, 2020.

       4.     Motions to amend the pleadings, including the commencement of a third party
              action, shall be filed by August 3, 2020.

       5.     Expert witnesses shall be disclosed, along with a written report prepared and signed
              by the witness pursuant to Federal Rule of Civil Procedure 26(a)(2), as follows:
              Plaintiff’s expert(s): January 23, 2021.
              Defendant’s expert(s): May 23, 2021.
              Third Party expert(s): N/A.
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     6.    Depositions of expert witnesses must be taken by:
           Plaintiff’s expert(s): March 23, 2021
           Defendant’s expert(s): July 23, 2021.
           Third Party expert(s): N/A.

     7.    The parties CERTIFY that they have discussed, in particular, the proportionality
           of discovery, the burden and expense associated with discovery, and the discovery
           of electronically stored information (ESI). The parties ☐ do ☒ do not anticipate a
           need for an ESI protocol. The parties shall submit to the Court any joint proposed
           ESI protocol no later than N/A. (The protocol shall contain mechanisms for
           addressing necessary topics concerning ESI to include sources of information,
           search terms, format of production and preservation of ESI by both Plaintiff(s) and
           Defendant(s)).

     8.    Discovery shall be completed by July 23, 2021 (which date shall be no later than
           115 days before the first day of the month of the presumptive trial month or the
           first day of the month of the trial setting). Any written interrogatories or request for
           production served after the date of the Scheduling and Discovery Order shall be
           served by a date that allows the served parties the full 30 days as provided by the
           Federal Rules of Civil Procedure in which to answer or produce by the discovery
           cut-off date.

     9.    All dispositive and Daubert motions shall be filed by August 23, 2021 (which
           date shall be no later than 100 days before the first day of the month of the
           presumptive trial month or the first day of the month of the trial setting). Dispositive
           motions filed after this date will not be considered by the Court.

     10.   The parties are reminded that, prior to filing any motions concerning discovery,
           they must first meet and confer relating to any discovery disputes and then contact
           the Court to arrange a telephone discovery dispute conference if they are unable to
           resolve their dispute. If the dispute cannot then be resolved in the first telephonic
           conference, the Court will establish, with the input of the parties, the mechanism
           for submitting written positions to the Court on an expedited basis.


     DATED: June 3, 2020

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